                      Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 1 of 15
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Western District of __________
                                                       __________              Texas

                 UMG Recordings Inc. et al.                                    )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      1:17-cv-00365-LY
       Grande Communications Networks LLC et al.                               )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                            IFPI, 3470 NW 82nd Ave., Suite 680, Doral, FL 33122

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
                                           See Attachment A, attached hereto.


 Place: Orange Legal                                                                   Date and Time:
           6303 Blue Lagoon Drive, Suite 380                                                             05/30/2018 9:00 am
           Miami, FL 33126

          The deposition will be recorded by this method:                     certified court reporter; video

       ✔
       u Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:
                       See Attachment B. Please produce all documents to undersigned counsel no later than May 16,
                       2018.



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        05/02/2018
                                   CLERK OF COURT
                                                                                         OR
                                                                                                            /s/ Zachary C. Howenstine
                                           Signature of Clerk or Deputy Clerk                                   Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Grande Communications Networks LLC                                      , who issues or requests this subpoena, are:
Z. Howenstine, 7700 Forsyth Blvd Ste 1800, St Louis MO 63105; zhowenstine@armstrongteasdale.com; 314-342-4169

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                      Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 2 of 15
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 1:17-cv-00365-LY

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
                       Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 3 of 15

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
         Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 4 of 15



                                        ATTACHMENT A

                                          DEFINITIONS

       1.      “IFPI” “you,” and “your” refers to International Federation of the Phonographic

Industry, its parents, subsidiaries, divisions, predecessors, successors, affiliates, and any present

or former agent, employee, representative, director, officer, or any other person acting or

purporting to act on its behalf.

       2.      “Grande” means Grande Communications Networks LLC, and any subsidiary,

predecessors, successors, affiliates, any present or former agent, employee, representative,

director, officer, or any other person acting or purporting to act on its behalf.

       3.      “Patriot” means Patriot Media Consulting, LLC, and any subsidiary, predecessors,

successors, affiliates, any present or former agent, employee, representative, director, officer, or

any other person acting or purporting to act on its behalf.

       4.      “Universal Plaintiffs” means the following entities: UMG Recordings, Inc.,

Capitol Records, LLC, Capitol Christian Music, Group, Inc. Fonovisa, Inc., Roc-A-Fella

Records, LLC, and Tooth & Nail, LLC), and any subsidiary, predecessors, successors, and

affiliates, and any present or former agent, employee, representative, director, officer, or any

other person acting or purporting to act on behalf of any of the Universal Plaintiffs.

       5.      “Sony Plaintiffs” means the following entities: Sony Music Entertainment, Arista

Records LLC, Arista Music, LaFace Records LLC, and Zomba Recording LLC, and any

subsidiary, predecessors, successors, and affiliates, and any present or former agent, employee,

representative director, office, or any other person acting or purporting to act on behalf of any of

the Sony Plaintiffs.

       6.      “Warner Plaintiffs” means the following entities: Warner Bros. Records Inc.,
         Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 5 of 15



Atlantic Recording Corporation, Elektra Entertainment Group Inc., Fueled by Ramen LLC,

Nonesuch Records Inc., Rhino Entertainment Company, Roadrunner Records, Inc., and any

subsidiary, predecessors, successors, and affiliates, and any present or former agent, employee,

representative director, office, or any other person acting or purporting to act on behalf of any of

the Warner Plaintiffs.

        7.     “Plaintiffs” refers to any individual entity or any combination of the entities

included in the Universal Plaintiffs, the Sony Plaintiffs, and/or the Warner Plaintiffs.

        8.     “Complaint” means the Complaint (attached as Exhibit 1 to this subpoena) filed in

this action.

        9.     “And” and “or” shall be construed disjunctively or conjunctively, as necessary, so

as to have the broadest possible meaning.

        10.    Where appropriate, the singular form of a word shall be interpreted in the plural,

and vice versa, to have the broadest possible meaning.

        11.    “Including” shall be given its broad, natural meaning, and shall not be interpreted

as limiting.

        12.     “Document” means any writing or other record in any form, electronic or hard

copy, and includes all items contemplated within Rule 34 of the Federal Rules of Civil

Procedure, including without limitation writings, drawings, graphs, charts, photographs,

phonorecords, emails, and other data compilations from which information can be obtained,

translated, if necessary, by the respondent through detection devices into reasonable usable form,

as broadly construed.

        13.    “ISP” means any business or organization that is an internet service provider.

        14.    “BitTorrent” means the BitTorrent communications protocol for peer-to-peer file




                                                 2
           Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 6 of 15



sharing used to distribute data and electronic files over the internet.

          15.   “Peer-to-Peer” means computer networks in which each computer can act as a

server for others, allowing shared access to files and peripherals without the need for a central

server.

          16.   “Grande Subscriber” means any account holder or subscriber of internet services

provided by Grande.

          17.   “IFPI System” means the technological system that MarkMonitor uses to monitor

and extract information from Peer-to-Peer file sharing networks, as well as send notices of

alleged infringement to internet services providers.

          18.   “IFPI Notice” means the notices sent by IFPI to an ISP identifying instances of

alleged infringement of copyrighted works committed by a subscriber of the ISP.

          19.   “RIAA” means Recording Industry Association of America, and any subsidiary,

predecessors, successors, affiliates, any present or former agent, employee, representative,

director, officer, or any other person acting or purporting to act on its behalf.

                                 MATTERS FOR EXAMINATION

          1.    IFPI’s actions and communications related to monitoring internet traffic for

infringement of Plaintiffs’ copyrighted works, including activities occurring over Grande’s

network, as described by Plaintiffs under oath in the following highlighted responses to

Interrogatory No. 11:




                                                  3
           Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 7 of 15




Plaintiffs’ Objections and Responses to Defendants’ First Set of Interrogatories, dated November

3, 2017.

       2.      The processes, procedures, and methods by which IFPI monitors Peer-to-Peer file

sharing networks in order to identify alleged infringers of copyrighted works, including through

use and operation of the IFPI System or any third-party software.

       3.      The capabilities and functionality of the IFPI System related to monitoring and

detecting Peer-to-Peer file sharing activity associated with a particular internet subscriber and a

particular ISP, including but not limited to the ability to identify an internet subscriber that has

downloaded a copyrighted work and subsequently provide a IFPI Notice to the ISP that provides

internet service to that same internet subscriber.




                                                     4
          Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 8 of 15



       4.      The considerations that informed IFPI’s decision(s) to send and continue sending

IFPI Notices to Grande.

       5.      The considerations and negotiations that resulted in IFPI associating with the

RIAA and/or the Plaintiffs for purposes of sending IFPI Notices to Grande and/or bringing this

lawsuit against Grande and Patriot.

       6.      IFPI’s knowledge regarding Grande and/or Patriot’s alleged liability for acts of

copyright infringement by Grande Subscribers.

       7.      The development, testing, and evaluation of the software that embodies the IFPI

System.

       8.      The basis for IFPI’s assertion(s) that a particular Grande Subscriber has

committed copyright infringement or infringed one of the copyrighted works belonging to

Plaintiffs or other RIAA members.

       9.      Any values, conditions, or other quantifiable measures that the IFPI System

detects or utilizes in order to identify an alleged infringer or send an IFPI Notice.

       10.     IFPI’s knowledge of actual, potential, or alleged flaws, weaknesses, deficiencies,

inefficiencies, errors, lack or absence of features or functionality, performance issues,

modifications or improvements needed, or any other problem associated with the IFPI System

and IFPI Notices, including but not limited to the IFPI System’s ability to detect and identify

activity associated with copyright infringement.

       11.     IFPI’s knowledge of IFPI Notices that were inaccurate, incomplete, or otherwise

improperly sent to a recipient ISP.

       12.     IFPI’s receipt of communications from ISPs identifying legal and/or factual issues

with IFPI Notices and/or the IFPI System.




                                                   5
         Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 9 of 15



       13.     IFPI’s actions or efforts to address, attend to, or remedy actual, potential, or

alleged issues or problems with the IFPI System or IFPI Notices.

       14.     All business relationships and associations between IFPI and any of the Plaintiffs.

       15.     All business relationships and associations between IFPI and the RIAA.

       16.     The compensation, remuneration, or other forms of payment that IFPI has

received or is entitled to receive directly or indirectly in conjunction with a legal proceeding

against Grande and/or Patriot.

       17.     Information known to IFPI about the capabilities and deficiencies of the

technological system used by Rightscorp, Inc. to monitor and extract information from Peer-to-

Peer file sharing networks, as well as send notices of alleged infringement to internet services

providers.

       18.     The substance of the documents produced in response to Attachment B.

       19.     The efforts and actions taken by IFPI in order to identify and locate responsive

documents and prepare a witness to provide testimony in response to this subpoena.




                                                  6
        Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 10 of 15



                                        ATTACHMENT B

                                          DEFINITIONS

       1.       “IFPI” “you,” and “your” refers to International Federation of the Phonographic

Industry, its parents, subsidiaries, divisions, predecessors, successors, affiliates, and any present

or former agent, employee, representative, director, officer, or any other person acting or

purporting to act on its behalf.

       2.      “Grande” means Grande Communications Networks LLC, and any subsidiary,

predecessors, successors, affiliates, any present or former agent, employee, representative,

director, officer, or any other person acting or purporting to act on its behalf.

       3.      “Patriot” means Patriot Media Consulting, LLC, and any subsidiary, predecessors,

successors, affiliates, any present or former agent, employee, representative, director, officer, or

any other person acting or purporting to act on its behalf.

       4.      “Universal Plaintiffs” means the following entities: UMG Recordings, Inc.,

Capitol Records, LLC, Capitol Christian Music, Group, Inc. Fonovisa, Inc., Roc-A-Fella

Records, LLC, and Tooth & Nail, LLC), and any subsidiary, predecessors, successors, and

affiliates, and any present or former agent, employee, representative, director, officer, or any

other person acting or purporting to act on behalf of any of the Universal Plaintiffs.

       5.      “Sony Plaintiffs” means the following entities: Sony Music Entertainment, Arista

Records LLC, Arista Music, LaFace Records LLC, and Zomba Recording LLC, and any

subsidiary, predecessors, successors, and affiliates, and any present or former agent, employee,

representative director, office, or any other person acting or purporting to act on behalf of any of

the Sony Plaintiffs.

       6.      “Warner Plaintiffs” means the following entities: Warner Bros. Records Inc.,
        Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 11 of 15



Atlantic Recording Corporation, Elektra Entertainment Group Inc., Fueled by Ramen LLC,

Nonesuch Records Inc., Rhino Entertainment Company, Roadrunner Records, Inc., and any

subsidiary, predecessors, successors, and affiliates, and any present or former agent, employee,

representative director, office, or any other person acting or purporting to act on behalf of any of

the Warner Plaintiffs.

        7.     “Plaintiffs” refers to any individual entity or any combination of the entities

included in the Universal Plaintiffs, the Sony Plaintiffs, and/or the Warner Plaintiffs.

        8.     “Complaint” means the Complaint (attached as Exhibit 1 to this subpoena) filed in

this action.

        9.     “And” and “or” shall be construed disjunctively or conjunctively, as necessary, so

as to have the broadest possible meaning.

        10.    Where appropriate, the singular form of a word shall be interpreted in the plural,

and vice versa, to have the broadest possible meaning.

        11.    “Including” shall be given its broad, natural meaning, and shall not be interpreted

as limiting.

        12.     “Document” means any writing or other record in any form, electronic or hard

copy, and includes all items contemplated within Rule 34 of the Federal Rules of Civil

Procedure, including without limitation writings, drawings, graphs, charts, photographs,

phonorecords, emails, and other data compilations from which information can be obtained,

translated, if necessary, by the respondent through detection devices into reasonable usable form,

as broadly construed.

        13.    “ISP” means any business or organization that is an internet service provider.

        14.    “BitTorrent” means the BitTorrent communications protocol for peer-to-peer file




                                                 2
          Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 12 of 15



sharing used to distribute data and electronic files over the internet.

          15.   “Peer-to-Peer” means computer networks in which each computer can act as a

server for others, allowing shared access to files and peripherals without the need for a central

server.

          16.   “Grande Subscriber” means any account holder or subscriber of internet services

provided by Grande.

          17.   “IFPI System” means the technological system that MarkMonitor uses to monitor

and extract information from Peer-to-Peer file sharing networks, as well as send notices of

alleged infringement to internet services providers.

          18.   “IFPI Notice” means the notices sent by IFPI to an ISP identifying instances of

alleged infringement of copyrighted works committed by a subscriber of the ISP.

          19.   “RIAA” means Recording Industry Association of America, and any subsidiary,

predecessors, successors, affiliates, any present or former agent, employee, representative,

director, officer, or any other person acting or purporting to act on its behalf.

                                         INSTRUCTIONS

          1.    You are to search for all documents and things within your possession, custody,

or control, wherever located, including without limitation any documents or things placed in

storage facilities or within the possession, custody, or control of any agent, employee,

representative, attorney, investigator, or other person acting or purporting to act on your behalf

(whether located at his or her residence or place of business) to fully respond to the requests.

          2.    Each request shall be deemed to call for the production of legible copies of the

original document(s) or things(s) responsive to each request. Original documents and things

shall be made available for inspection upon request. In addition, any copy of a document or




                                                  3
        Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 13 of 15



thing shall be produced if it differences in any respect from the original (i.e. by reason of

handwritten notes, comments, marginalia or any addition or deletion to the copy which does not

appear on the original).

        3.     If you object to any request, state the ground(s) of the objection with sufficient

specificity to permit the determination of the basis(es) for such objections. Objection to a

portion of any request does not relieve you of the duty to respond to the parts that you do not

object to.

        4.     If a privilege or immunity is claimed with respect to any document or thing

required by these requests, you shall provide a “Privilege Log” pursuant to Rule 26(b)(5) of the

Federal Rules of Civil Procedure including the following information regarding such document:

        (A)     the identification of the document by author and title or, if untitled, the general

                nature of the document (e.g. memorandum, handwritten note, report, etc.);

         (B)    the date on which the document was created;

         (C)    a brief summary of the subject matter to which the document relates;

         (D)    the identities of persons who received the documents;

         (E)    the precise legal grounds upon which the claim of privilege or immunity is made;

                and

         (F)    any further information necessary for Grande to assess the applicability of the

                privilege.

        5.     You should label the documents produced to correspond to the document

request to which the documents are responsive.

        6.     If a document requested was, but is no longer, in your possession, custody, or

control, you should state whether the document: (1) is missing or lost; (2) has been destroyed;




                                                  4
        Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 14 of 15



(3) has been transferred, voluntarily or involuntarily, to others; or (4) has otherwise been

disposed of. For each instance, explain the circumstances surrounding such disposition, the

date or approximate date of such disposition, and the names and residences and business

addresses of those persons with knowledge of such circumstances.

       7.      These requests are propounded on a continuing basis, and you shall promptly

supplement your responses hereto as and when additional documents called for herein come

to your attention.

                                REQUESTS FOR DOCUMENTS

       1.      Documents and communications that refer or relate to agreements between you

and the RIAA or any Plaintiff that pertain to Grande, Patriot, or this lawsuit, including but not

limited to any agreement relating to use of evidence in a legal proceeding and any agreements

relating to payment or remuneration derived from an award obtained by the RIAA or Plaintiffs in

a legal proceeding.

       2.      Documents that refer or relate to communications between you and the RIAA or

any of the Plaintiffs concerning Grande, Patriot, and/or Grande Subscribers.

       3.      Documents that refer or relate to the considerations that informed your decision(s)

to send (and continue sending) IFPI Notices to Grande.

       4.      Documents that refer or relate to the ability of the IFPI System to observe or

detect infringement over Peer-to-Peer file sharing networks.

       5.      Documents that refer, relate to, or constitute marketing materials, business plans,

whitepapers, product manuals and specifications, and other materials that describe the features,

functionality, capabilities, and operation of the IFPI System.




                                                  5
        Case 1:17-cv-00365-LY Document 94-5 Filed 05/25/18 Page 15 of 15



       6.      Documents that refer or relate to negative feedback or criticism of the IFPI

System and/or IFPI Notices.

       7.      Documents that refer or relate to flaws, weaknesses, deficiencies, inefficiencies,

errors, lack or absence of features or functionality, performance issues, modifications or

improvements needed, or any other problem associated with the IFPI System.

       8.      Documents that refer or relate to actual, potential, or alleged problems,

limitations, or flaws concerning the IFPI System’s ability to detect copyright infringement.

       9.      Documents that refer or relate to legal and/or factual issues, deficiencies, or

inaccuracies identified by ISPs regarding IFPI Notices or the ability of the IFPI System to detect

copyright infringement.

       10.     Documents that refer or relate to efforts or actions taken by IFPI to address or

remedy any inaccuracies or deficiencies associated with IFPI Notices.

       11.     Documents reflecting the capabilities and deficiencies of the technological system

used by Rightscorp, Inc. to monitor and extract information from Peer-to-Peer file sharing

networks, as well as send notices of alleged infringement to internet services providers.

       12.     Documents reflecting communications with or regarding Rightscorp, Inc.

       13.     Documents reflecting communications with the RIAA or its members concerning

the accuracy, viability, errors, or problems of or with the IFPI System and/or IFPI Notices.




                                                 6
